Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 1of13 PagelD 2870

UNITED STATES DISTRICT COURT

| NORTHERN DISTRICT OF TEXAS

JEANETTE DRIEVER,
ALL SIMILARLY SITUATED FEDERAL FEMALE INMATES,

Plaintiffs,

 

 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FILED

   

 

FEB - 4 2019

  

CLE iW ISTRICT COURT

 

Deputy

 

UNITED STATES OF AMERICA,

ATTORNEY GENERAL OF THE UNITED STATES,

DIRECTOR OF THE FEDERAL BUREAU OF PRISONS,

WARDEN JODY UPTON,

ALL FBOP WARDENS-NATIONWIDE,

ALL FBOP DIRECTORS OF PSYCHOLOGY SERVICES-NATIONWIDE,
UNKNOWN PRISON EMPLOYEES,

ALL IN THEIR OFFICIAL AND INDIVIDUAL CAPACITIES,

Defendants.

no. 7: 17-cv- CQ009 - O

JURY DEMAND

PLAINTIFF DRIEVER'S AMENDED CIVIL COMPLAINT

The Plaintiffs, Jeanette Driever and All Similarly Situated Female Inmates bring this lawsuit against the
United States and other named officials in their individual and official capacities.

 
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 2of13 PagelD 2871

INTRODUCTION

This action arises out of recent Federal Bureau of Prisons (FBOP) rules and regulations that authorizes
male prison inmates to be housed in the same facilities that house female inmates. The housing of male
and female inmates in the confined and restricted conditions attendant to prisons violates the privacy of
female inmates and causes numerous dangers and threats to the physical and mental health and safety
of the female Plaintiffs.

The basis for the recent changes to rules and regulations is a politically-driven agenda to affirm that
gender identity theory, rater then biological sex, is the normative basis to determine whether an
inmate is male or female. Consequently, male inmates who profess to be transgender women are being
placed in female-only prison facilities as a method of affirming their misperceived sex. Housing male
inmates in facilities otherwise housing only female inmates creates a situation that incessantly violates
the privacy of female inmates, endangers the physical and mental health of the female Plaintiffs and
others, including prison staff, increases the potential for rape, increases the potential for consensual sex
which is nonetheless prohibited by prison regulations, increases the risk for other forms of physical
assault, violates the Plaintiffs’ right to freely exercise their religion, and causes mental and emotional
distress that must be promptly mitigated by preliminary and permanent injunctive relief.

Plaintiffs seek a return to objective reason in prison regulations and the housing actions of the FBOP,
and recompense for past harms inflicted on them, in the form of monetary damages.

Throughout this Complaint, Plaintiffs refer to "sex" as the biological sex a person has at birth which
correlates to objective indicia of sex such as chromosomes, gonads, and internal and external genitalia.
Sex is objectively verifiable; binary, fixed, and defined by our human reproductive nature as either male
or female.

Plaintiffs use the term "gender" as it is used by the Defendants’ policies and practices, to mean self-
perception of one's "gender" that is subjectively discerned and exists within a continuum genders that
range from male to female to something else. Gender is established only by a person's self-report; there
are no objective indicia that disclose one's "gender," and gender identity theory rejects male and female
physiological reproductive systems as being definitional primary sex characteristics. Gender is
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 3o0f13 PagelD 2872

subjectively perceived; fluid, and may be called male, female, or something else as the individual may
desire.

Finally, "intersex" refers to disorder of sexual physiological development in which there is an abnormal
chromosomal complement; the development of deformed or ambiguous genitalia; or some combination
of the two. Intersex conditions my be objectively diagnosed and are distinct from "genders" proposed
by gender-identity theory. Intersex conditions are irrelevant to this Complaint.

PARTIES AND SERVICE OF PROCESS

1. Plaintiff Jeanette Driever is a former FBOP inmate, who remains under the supervisory authority of
the Department of Justice (DOJ), presently resides in Albuquerque, New Mexico.

2. Plaintiff All Similarly Situated Federal Female Inmates, to include heterosexual, Christian, Jewish, and
Muslim women formerly and currently in federal prisons nationwide.

3. Defendant United States of America is the sovereign responsible for creation and implementation of
the policies being challenged in this lawsuit, and for the incarceration of Plaintiffs and the conditions in
which Plaintiffs live. It may be served with process via certified mail delivered to the U.S. Attorney for
the Northern District of Texas:

U.S. Attorney's Office

c/o Civil-Process Clerk

 

Fort Worth, Texas

with copy delivered via certified mail to:
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 4of13 PagelD 2873

Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Avenue, NW

Washington, DC 20530-0001
and copy delivered via certified mail to:

Acting Director of the Federal Bureau of Prisons
320 First Street, NW

Washington, DC 20534

4. Defendant Attorney General of the United States and director of the U.S. Department of Justice, and
is being sued in his official and individual capacities. He is the official who, among other tasks,
supervises the Department of Justice (DOJ), and is being sued in his official and individual capacities. He
is the official who , among other tasks, supervises the Department of Justice (DOJ), of which one division
is the Federal Bureau of Prisons (FBOP). He is the person responsible for the enforcement of FBOP
regulations. He may be served with process via certified mail delivered to the address in paragraph-3,
above.

5. Defendant Director of the FBOP is being sued in his official and individual capacities. He is the official
responsible, among other tasks, for the creation, administration, and implementation of policies and
procedures of the FBOP that are being challenged in this lawsuit. He may be served with process via
certified mail delivered to the address in paragraph-3.

6. Defendant Warden Jody Upton and all other Defendant Wardens of federal female prisons, is being
sued in their official and individual capacities, for violating the bodily privacy and religious liberty rights
of the Plaintiffs. They may be served with process via certified mail delivered to the address in
paragraph-3.

7. Defendants Directors of Psychology Services and Unknown Prison Employees, are employees of the
United States, and is being sued in their official and individual capacities. Defendant Directors of
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page5of13 PagelD 2874

Psychology Services failed to protect female inmates from FBOP policies they knew were harmful to
female inmates. All Defendants in this paragraph are responsible for enforcing policies which violated
the constitutional rights of the Plaintiffs. They may be served with process via certified mail delivered to
the address in paragraph-3.

JURISDICTION AND VENUE

8. Jurisdiction is proper in this Court under Article III of the U.S. Constitution and 28 USC Sections 1331

and 1346 because claims in the case arise under the Constitution, federal laws or treaties of the United
States, including the First, Fourth, Fifth, Eighth, and Fourteenth Amendments, 42 USC Section 2000(bb),
et seq., the Religious Freedom Restoration Act, and under Bivens v. Six Unknown Agents of the Federal

Bureau of Narcotics, 403 US 388 (1971).

9. The court has jurisdiction to issue the requested declaratory relief in accordance with 28 USC
Sections 2201 and 2202, and Federal Rules of Civil Procedure 57.

10. The Court has jurisdiction to award attorney's fees and costs in accordance with 28 USC Section |
2412 and the Equal Access to Justice Act, and money damages under Bivens v. Six Unknown Agents of
Federal Bureau of Narcotics, 403 US 288 (1971).

11. Venue is proper in the Northern District of Texas in accordance with 28 USC Section 1391(e)
because many of the unconstitutional acts against the Plaintiffs occurred at Federal Medical Center-
Carswell and several of the Defendants are located in this District.

IV.

RELEVANT BACKGROUND FACTS

A. General Prison Condition Which Violate the Rights of the Plaintiffs.
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 6of13 PagelD 2875

12. The Plaintiffs are present and former female inmates of the FBOP. All Plaintiffs have been housed in
cells and open dorms with biologically born male inmates who allege they are women and/or female
lesbians.

13. Nationwide, the FBOP is overcrowded. The FBOP is housing more inmates than the prisons are
designed to hold.

14. The FBOP currently houses an unknown number of biological male inmates with the Plaintiffs in
"female only" prisons. The prisons are not officially designated to house male inmates.

15. For the history of this country, an in most Countries world-wide, male prison inmates are housed in
separate facilities from female inmates--sex segregated facilities. There are many good reasons for this
separation, including to protect the physical safety of the.inmates and prison officials, bodily privacy,
hygiene, and to prevent or avoid mental/sexual trauma, sexual assault, and consensual relations that are
nonetheless against prison regulations.

16. To preserve the right to bodily privacy, female inmates are not subject to routine observation, such
as Strip searches of video surveillance by male officers. Pat searches by male officers on female inmates
were deemed unconstitutional and ended in 2012.

17. The conditions of the federal prisons are controlled by federal regulations and statutes.

B. Recent Changes To Prison Regulations.

18. In 2017, under the Obama Administration, FBOP Program Statement Number 5200.04, the
"Transgender Offender Manual" was implemented by the Defendants, which now forces female inmates
to be housed with male inmates, who verbally represent that hey are women/female. The former and
present administration have been designating male inmates to female-only prisons, nationwide.

19. Under FBOP regulations, male inmates are discerned as being "female" only through their self-
report. Moreover, there is no objective, physical, or evidence-based test that can verify that a biological
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 7of13 PagelD 2876

male inmate is actually a female inmate. This is evidenced by the regulations relating to professed
transgender inmates, who are classified as such by this self-report criteria:

Gender identity - a person's sense of their own gender,
which is communicated to others by their gender ex-

pression. Id. at FBOP PS No. 5200.04.

20. Additionally, this Program State differentiates gender identity from sexual orientation or sexual
preferences of the person, stating that "Sexual orientation and gender identity are not related." Id.

21. The Plaintiffs, present and former female inmates, have been subjected to sexual harassment and
sexual assault by male inmates, or forced to be housed in an environment of sexual perversion created
by the Defendants. Male inmates under the current FBOP regulations have gained access to a captive
prison population filled with female inmates who the male inmates still have sexual desire for and who
have been ready, accessible victims for mental and physical trauma. Because of the self-reported nature
of the gender identity designation, it is likely that male inmates are actually just regular men, with life
sentences, or long sentences, that falsely "identify" as female for nefarious purposes to gain access toa
female-only prison population in order to engage in sexual assault, rape, or other sexual aggressive
activities.

22. Even for those professed transgender inmates who may be sincere in their delusional mental state,
the fact that sexual orientation is distinct from gender identity means that these male inmates retain
male genitalia and be sexually attracted to females with consequent elevated risk for consensual sex or
rape within the inmate population, or between inmates and staff.

23. Regardless of sexual orientation, male inmates often use their male sexual organs as a threat or a
weapon against other inmates and correctional female officers. The Defendants recently settled a class
action lawsuit in Florida, where the female correctional officers were being sexually harassed by male
inmates and the Defendants in this case refused to protect their own employees. The Plaintiffs, unlike
the correctional officers, are locked in Special Housing Cells or open dorms, at any given time with male
inmates. The privacy of the male inmates is protected, so the Plaintiffs and other female inmates do not
know and are not told that they are locked in a cell or open dorm with men.
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 8of13 PagelD 2877

24. This practice of locking female inmates in cells with male inmates is ongoing. Lawsuits have been
filed in other districts, but the Defendants continue the practice, although they have proof of sexual
assault, sexual harassment, threats of rape, and other traumatic occurrences against female inmates.

25. The Plaintiffs, against their will, are forced to undress in the presence of male inmates and use
intimate facilities with these men, which violates the privacy rights of any woman unwilling to
participate in this social experiment, of which the Defendants have failed to conduct any study prior to
implementing this policy.

26. Because of this policy, the Plaintiffs have suffered headaches, stomachaches, insomnia, back pain,
mental anxiety, and post-traumatic stress disorder. The Plaintiffs are both victims of prior sexual
assaultive and/or harassment by men. Therefore, the Plaintiffs, are highly sensitive to the increased
likelihood of being victimized by sexually violent men, again.

27. The Defendants have not made any special provisions for the protection, safety, and privacy of the
Plaintiffs and other biological female inmates with whom male inmates are being housed. The rights of
male inmates who allege they are females are protected, to include their privacy rights, while nothing is
said about the religious beliefs, health, or safety of other inmates who do not suffer from sexually-
based psychological condition.

28. The Plaintiffs are asking that their legal rights to privacy, safety, and the free exercise of their faith
be protected against the inevitable consequences of official policies of intermingling the sexes in their
home--which for now is a federal prison, with lockdown cells.

V.

STATEMENT OF APPLICABLE LAWS

29. The Plaintiffs have a right to privacy in one's bodily integrity and it well established under federal
law, and protected by the 4th, *8th, and 14th Amendments of the U.S. Constitution, and by various
federal states and regulations.
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page9of13 PagelD 2878

30. The right to be free from threats of physical and mental abuse, while incarcerated in a government
prisons is well established under federal law.

31. The right to be free to express and enjoy religious liberty without unreasonable governmental
interference is well established in federal law, including the Religious Freedom Restoration Act. The
Plaintiffs practice a tenet of their faith which requires modesty and not exposing themselves to the
opposite sex.

32. The rights of male inmates are not greater than the rights of female inmates, therefore, there is no
legitimate penological interest in forcing Plaintiffs to share with male inmates their cells, locker areas,
showers, toilets, and other areas where bodily privacy is normatively protected.

Vi.

CAUSES OF ACTION

33. The Plaintiffs and other female inmates have a protected constitutional right to equal treatment
under the law. That right has been violated under the Defendants’ transgender policy which does not
protect or consider the rights of heterosexual women of faith.

34. The policy is cruel and unusual punishment where the conditions place women in physical and
mental danger, as well as tormenting the Plaintiffs. The Plaintiffs interact daily with inmates that they
fear may be men because of the transgender policy. No one knows for sure and their is rational fear in
the female prisons, nationwide. Women were completely disregarded when this policy was created and
implemented.

35. Plaintiffs have a constitutional right under the 4th, 8th, and 14th Amendment to expect that prison
officials will keep them safe from physical and mental harm by exercising reasonable actions designed to
do so. The Defendants, in prior cases in the federal courts, were on notice of the likelihood of violence
against women when they are housed near male inmates. See, Lucas v. White, 63 F. Supp.2d 1046 (N.D.
Cal. 1999). The Defendants are in violation of a private settlement agreement, the Lucas Settlement,
which bars them from housing female inmates with male inmates.
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 10o0f13 PagelD 2879

36. The Defendant failed to use the least restrictive means to protect male inmates that identify as
women, in their policy that obviously violated the rights of women.

37. The deprivation of the rights of the Plaintiffs are caused by the rules and regulations imposed by the
Defendants. Although these policies were implemented by a previous administration, the present
Defendants were on notice that the transgender policy was harming the Plaintiffs, nationwide. The
Defendants did nothing to reduce the harm to the Plaintiffs, who continue to suffer to this day of the
filing of this class action complaint. Specifically, Plaintiff Driever was sexually harassed by male
transgender inmates, was exposed to L. Thompson's private areas, and was threatened with physical
violence for speaking out about the FBOP policies on transgender inmates. Plaintiff Driever's experience
in prison, under the Defendants' policies is typical of the experiences of thousands of FBOP female
inmates.

38. All of the Defendant have long, extensive employment history in the field of corrections. All
Defendants know that female inmates have a constitutional right to bodily privacy and religious liberty
to practice modesty under their faith. The Plaintiffs were intentionally, knowingly, deliberately denied
their constitutional and statutory rights.

39. The Defendants are jointly responsible, at this time, for housing the Plaintiffs with transgender
males who say they are women and transgender females who self-report as being men. If the DOJ
acknowledges the self-reporting of both groups of transgender inmates, clearly the Plaintiffs rights are
being violated and they are being sexually discriminated against by the agency. At this time, female
inmates are forced to shower and use other intimate facilities with male inmates.

40. The rights of the Plaintiffs, mainly heterosexual, Christian, Jewish, and Muslim women of faith have
been summarily disregarded by the Defendants. No studies were conduct to consider the ramifications
of housing men with women. These men were placed within the prison without warning to female
inmates.

Vi.

RELIEF REQUESTED

The Plaintiffs seek the following relief:
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 110f13 PagelD 2880

41. Declaratory judgment the the regulations of the FBOP violate the U.S. constitution because they
infringe on the Plaintiff's rights to bodily privacy, freedom from cruel and unusual punishment, and
religious freedom; and further declare that such regulations are null and void.

42. Mandatory injunctive relief directing the FBOP to promptly relocate all male inmates in female
federal prisons who are biological males. If they were born male, these inmates need to be relocated,
immediately.

43. Compensate female inmates with a reduction in sentence pursuant to 18 USC Section 3582 and/or
the All Writs Act, ordering U.S. Attorney's Offices nationwide to make motions for the specific federal
prison population, female inmates, who suffered a punishment not contemplated by the sentencing
courts.

44. Money damages of $500,000,000 for past mental and physical pain and suffering. Female inmates
still in custody may waive monetary damages if compensated with a reduction in sentence or accept a
smaller amount in monetary damages.

45. Punitive damages at the highest rate allowed by law.

46. Nominal damages of $1,00 per Plaintiff from each Defendant.

47. Reasonable attorney fees and costs.

specttfully Submitted,

  

Jeanette Driever, Plaintiff

January 30, 2019
Case 7:17-cv-00009-O Document 225 Filed 02/04/19 Page 12 o0f13 PagelD 2881

760 Juan Tabo Blvd, #A13

Albuquerque, NM 87123

VERIFICATION

Pursuant to 28 USC Section 1746, I, Jeanette Driever declare that the above statements are true and
correct to the best of my knowledge. | have personal knowledge of all facts stated in the pleading
above, and all such facts are true and correct.

Executed on January 30, 2019

x

Leer

Jeanette Driever, Plaintiff
Case 7:17-cv-00

 

af

 

009% OF SROCUMENT 22 Seni

pare " oa ‘ ‘s ad aes
ed OZ/0AIT Page 1S OF 1s” PagelD 2882

 

US POSTAGE PAID
Origin: 87128
$7.85 220.

 

 

PRIORITY MAIL 2-Day ®

 

© Lb 4.30 Oz
1006

EXPECTED DELIVERY DAY: 02/04/18

SHIP
TO:
1000 LAMAR ST
AM 203
WICHITA FALLS TX 76301-3431

 

USPS TRACKING NUMBER

9505 5111 8611 9032 4080 50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

of ask a retail associate for details.

8002100 dridd Wd 802280

USPS packaging progucts haw been awarded Gracie
to Cradle Gertification™ for tirair ecafogicaity- (naaigant
Design. For me information go to mide comivsps

Pe rate ts Cras Carter a cateton mary of BOC.

Please recycle.

 

PLEASE PRESS FIRMLY

Flat Rate
Mailing Envelope
For Damestic and International Use

Visit us at usps.com

romania S JC ORE Tie, fo EVE @,

Iwo Juan” Tabo
filb, Nm 81195

Country of Destination yPays de destination:

ay a1:
nifea Stars &!

»);

Sy,
# @
=a
Misuse may be a violation of federal law. This packaging is not for resale. EP14F © U.S. Postal Service: Oct. 2008; All rights reserved.

, A front
uv tf} ‘ PV ere go qm

hoa px a
TowDesinatare: «2 oF cea

Mh

 

‘EPIAF

 

il

ideo

This packaging is the property of the U.S. Postal Service® and Is pravided solely for use in sending Priority Mai shiaments,

 
